Case 06-01268-8-RDD Doci1 Filed 04/27/06 Entered 04/27/06 10:20:28 Page 1 of 50
(Official Form ip (10/08)

 

 

 

 

 

 

 

United States Bankruptey Court Voluntary Petition
District of
2 of Debtor (if individual, enter Lust, First, Middle): Name of Joint Debtor (Spouse) (Last, First, Middle):
BCKINGTOA ne Gaga ERY
All Other Names used by the Debtor inf the last & years All Other Names used by the Joint Debtor in the last § years
Cinclide married, nigiden, and trade names): (include married, maiden, and trade ssines):
Lust four digits of Suc, See /Complete BIN or other Tax LD. No. (if more Last four digits of Suc, See. /Complete BIN of other Tax 1.D.No. (ifmore thin

than one, state all): 7 f t 5d otie, state all):

Street Address of Debtor (No. & Street, City, and State): Me Street Address of Joint Debtor (No. & Street, City, and State):
22.5 London DEReEY Mas
L U MN Betton! N C. [AEopIZ S| =e ZIPCODE

 

 

 

 

oy se of of the Principal Place of Business: County of Residence ot of the Principal Place of Busiiess:
Maing Address of Debjor (if different from street address): Mailing Address of Joint Debtor (if different trom street addres):
0: OX 252.

 

 

Lu PABECTON NC. phy [aPcobE™

Location of Principal Assets of Business Debtor (if different from street address above):
[ZIPCODE

 

 

 

 

a of Debtor (Forti of Qrganization) Nature of Btisiness Chapter of Bankruptey Code Under Which
(Check ote box.) (Cheek all applicable boxes.) the Petidon is Filed (Check one box)
Tndividiial (netudes Joint Debtors) (2) Heatth Care Business
QQ Corporation (iicludes LLC and LLP) (7) single Asset Real Estate an defined in C Chapter 7 [7] Chapter 11 O Chapter 18 wane for esogaition
CD) Partnership if U.S.C. g 101 (518) [7] Chapter 9 (L Chapter 12 of a Forelan Main Proceeding
7 Chapter 14 Petition for Recognition
CO Other (If debtor is not one of the above JE] Raliroad A Chapter 13 O of a Foreign Nonttnmit Proceeding

entitles, check thin hox and provide the [Fy Stockbroker
information requeated betaw.)

 

 

 

 

 

 

 

DD Cotitiedity Broker Nature of Debts (Check one box)
State type of entity: wen | LD Clearing Bank
C) Nonprofit Organization qualified utider ¥ Consumet/Non-Business [7] Susinens
26 USC. 8 St ex) Chapter 11 Debtors
Filing Fee (Check one box) Check one box:

Oo Full Filitig Fee attached 0 Debtor in a small business debtor as defined in 11 U.8.C. § 101(5109).

x Filtng Fee to be paid it inetatlments (Applicable to individuals only) C] Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
Must attech Aigried application tor the courts consideration certifying that the debter is een eee nn em eee eee ae eee
unable to pay fee except it iitstallinente, Rule 1006(b). See Official Form 3A. Cheek if:

[] Filing Fee waiver requested (Applicable to chapter 7 individuals otily). Must attach (J Debtor's aggregate noncontingeut liquidated debts owed to non-dinsiders oF
signed application for the court's consideration, Seq Official Form 3B. affliates are leas than $2 million.

Stutlitieal/Admlaistrative Information “HER SPACE Th FOR COWIE ONLY

 

Debtor estimates that, after any exeript property is exclided and adniitistrative expenses paid, there will be vo funds available for

Pa Debtor estimates that finds will be available for distribution te unadcured creditars.
distribution to unaccured creditors.

 

Estimated Number of
Creditors I 50: 100- 200: 1,000: §$,00L- {0,00l: 28,001: 80,001. OVER
49 499 199 999 §,000 10,000 25,000 50,000 100,000 100,000

Bw a O 0 0 0 0 O O C)

 

Eatimated Assets

$0 ta $50,001 10 = $100,001 to = $500,001 to $1,000,001 to $10,000,001 to $50,000,001 lo = More thai
$50,000 $100,000 $500,000 $i million $10 niillion $$0 million $100 million $100 million

oO Oo wf oO oO Oo Oo oq

Katimated Debts

$0 to $50,001 te = $100,001 ta == $400,001 to | $1,000,001 to = $10,000,001 to «$50,000,001 to == More than
$50,000 $100,000 $500,000 $1 million $10 million $50 million $100 million $100 million

Oo O g ye Oo Oo O O

 

wT

 

 

 

 

 

 

 
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(Offielal Form 1) (10/08)

FORM Bi, Page 2

 

Voluntary Petition
(This page must be completed and filed ta every caye)

Name of Debtor(s):

RoCKINGTOA BARBALA FAY

 

Prior Bankruptey Case Filed Within Lust § Years (

f more than one, attach additional sheet}

 

Location
Where Filed:

Ml A

Case Number:

LA “NIA

 

Pending Bankruptcy Case Flied by any Spouse, Partner or Affiliate of this Debtor (if more than one, attach additional sheet)

 

Natne of Debtor:

wea

Case Number: IA / A- Date Filed: N / A

 

Diatrict:

N/A

 

Relationship: N f A. Judge: N/ 4

 

Exhibit A

(To be completed if debtor is required to file periodic reports (2.g., forms
10K and 10Q) with the Securities and Exchange Commission purauant ta
Section 13 or 1 5(d) of the Securities Exchange Act of 1944 and is requesting

relief under chapter 11.) A

LJ Exhibit A is attached and made a part of this petition,

Exhibit B

(To be completed H debtir ia ad iidividiial
whune dette atu ptittiatily cnauniet dette.)

I, the attorney for the petitioner named in the toregoing petition, declare that] have informed
the petitioner that [he or she] miwy proceed under chapier 7, 11, 12, or 13 of title 11, United
States Cade, and have explained the relief available woder each such chapter.

| further certify that 1 delivered to the debtor the notice required by § 342(b) of the
Barkruptey Code.

xX

 

Signature of Attorney for Debtor(s) Date

 

Exhibit c

Does the debtor own or have possession of any property that poses or is
alleged to pose 4 threat of imminent aid identifiable hart to public health
or safety?

Cs Yes, and Exhibit C is attached and made a part of thin petition.

Ye vs

Certification Concerning Debt Counseling
by Individual/Joint Debtor(s)

4 lve have received approved budget and credit counmeling during the 180-day period
preceding the filing of this petition.

(7 I/we request « waiver of the requirement to obtain budget atid credit counseling priet
fo filing based on exigent circumstances. (Must sttach certification describing.)

 

 

Information Regarding the Debtor (Check the Applicable Boxes)
Venue (Check any applicable box)

Debtor has been domiciled or has had a residence, principal place of business, of prificipal asseta in this District for 180
days immediately preceding the date of this petition uf for « longer part of such 180 days than in any other Dintrict.

There is a bankruptey case concerning debtor's affiliate, general partner, ot partnership pending in this District.

Debtur is a debtor ih a toreign proceeding and has its principal place uf business or principal assets in the United
States in this District, of hos no principal place of business or assets in the United States but in a defendant in an action
or proceeding fin a federal or state court in this District, or the interests of the parties will be served in regard to the
relief sought in this District.

 

 

Statement by a Debtor Who Resides as a Tenant of Residentlal Property
Check alt applicable boxes.

Landlord has « judgment against the debtor for possession of debtor's residence. (If box checked, complete the
following.)

 

(Nanie of landlord that obtained judgmient)

 

(Address of landlord)

Debtor clainia thut under applicable nonbankrupicy law, there are circumstances under which the debtor would be
permitted to cure the entire monetary default that gave rise to the judgment for possession, after the judgment for
possedsion was entered, and

Debtor bas included in this petition the deposit with the court of any rent that would become due during the 30-day
period after the Hling of the petition.

 

 
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f Official Form 1) (10/04)

FORM Bi, Page 3

 

Voluntary Petition
(This page must be completed and filed in every caxe)

BLOCK NG TON CAR BALA Py

 

Signatures

 

Stgnature(s) of Debtor(s) (Individual/Jaint)

I declare under penalty of perjury that the information provided in this petition
is true and correct.

[If petitioner is an individual whose debts are primarily consumer debis and has
chosen to file under chapter 7) | am aware thut I may proveed under chapter 7,
(l, 12 or (3 of title 11, United States Code, understand the relief available under
each auch chapter, and choose to proceed under chapter 7,

[Lf no attomey represents me and nu baitkeupiey petition preparer signs the
petition] | have obtained and read the notice required by § 342(b) of the
Bankruptey Code.

1 request relief in acvordaned with pie chapteryf title 11, United Sates Code,
specified in this/petition. ‘
x a
gtdtire of Debtor

Signature of Joint Debtor

Flo- 536-3502

Telephone Number (If not represented by atturney)

4-26-60

Date

 

Xx

Signature of a Foreign Representative

1 declare under penalty of perjury that the information provided in this petition
in true and correct, that [am the foreign representative of a debtor in a foreign
proceeding, and that 1 am authorized to file this petition.

(Check only one box.)

1 J request relief in xecordanee with chapter 15 of Hile (1, United States
Code. Certified copies of the ducuments required by § 1414 of title 11 are
attached.

C) Pursuantte § 1511 oftitte 11, United States Code, | request relief in accordance
with the chapter of title 11 specified in this petition. A certified copy of the
order grunting recognition of the foreign main proceeding is attached,

 

(Signature of Foreign Represetitative)

 

(Printed Name of Foreign Represetitative)

 

Dute

 

Signature of Attorney

x
Signature of Attarney for Debtor(s)

 

 

Printed Name of Attorney for Debtor(s)

 

Firm Name

 

Address

 

 

Telephone Number

 

Date

Signature of Non-Attorney Bankruptcy Petition Preparer

I declare under penalty of perjury that: (1) 1 am a bankruptcy petition preparer
as defined in 11 U.S.C. § 110; (2) 1 prepared this document for compensation
and have provided the debtor with a copy of this document and the noticed and
information required under 11 U.S.C. §§ 11006), 110¢h), and 342(¢b); and, (3) if
rules or guidelines have been promulgated pursuant to 11 U.8.C, § 110(h) setting
4 thuxiniuni fee for services chargeable by bankruptcy petition preparers, | have
given the debtur notice of the maximum amount before preparing any ducumentt
for Hling for a debtor or secepting any fee ftom the debtor, as required in that

séction.Official O 198 is attached.
3A to 0 BALOGUA CPA

Ke attie an ay if oO of "On SNe reparer

 

Social Security =f 2 the —o petition preparer ia fot an individual,
state the Social Security number of the officer, principal, feaponsl person or

partner of the bankruptcy petition rn. {Required by 11 U S.C. § 110)
5 208- (Be (fees VW

 

Signature of Debtor (Corporation Partnership)
I declare under penalty of perjury that the information provided in this petition

of the debtor,

The debtor requests relief in accordance with the chapter of title 11, United
States Code, apecitied in this petition.

X
Signature of Authorized Individual

 

 

Printed Name of Authorized Individual

 

Title of Authorized Individual

 

Date

 

is true and correct, and that | have been authorized to tile this petition on behalf

 

  
 
  

 

 

Address e (to. an 2830 4

>

 

Date

Signature of Bankruptcy Petition Preparer or officer, principal, reapunalble
péron,or partner whore social security number id provided above,

Names and Social Security numbers of all other individuals who
prepared or assisted in preparing this document unless the bankruptey petition
preparer id not an individual:

If more than one person prepared this document, attach additional sheets
conforming to the appraptinte official form for each person,

A bankruptcy petition preparer \ failure ta comply with the provistony of tithe Lt
and the Federal Rules of Bankrupicy Procedure may result in fines or taprixonment
ov both 1 USC. §110; 18 U.S.C. $156.

 

 
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B 201 (04/09/06)

UNITED STATES BANKRUPTCY COURT

NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)

OF THE BANKRUPTCY CODE

In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services
available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four
types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and
notifies you that the Attorney General may examine all information you supply in connection with a
bankruptcy case. You are cautioned that bankruptcy law is complicated and not easily described. Thus, you
may wish to seek the advice of an attorney to learn of your rights and responsibilities should you decide to
file a petition. Court employees cannot give you legal advice.

1. Services Available from Credit Counseling Agencies

With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit
counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days before
the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by telephone
or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the United States
trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget
and credit counseling agencies.

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge. The clerk also has a list of approved
financial management instructional courses.

2. The Four ters of the Ba ti ode Available to Individual Consumer Debtor:

Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)

1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
residence and family size, in some cases, creditors have the right to file a motion requesting that the court dismiss your
case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.

2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have
the right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
creditors.

3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found
to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your
discharge and, if it docs, the purpose for which you filed the bankruptcy petition will be defeated.

4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a
motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose
from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine
that the debt is not discharged.

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $39
administrative fee: Total fee $274)

1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain
dollar amounts set forth in the Bankruptcy Code.

 
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B 201 Page 2

2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
owe them, using your future earnings. The period allowed by the court to repay your debts may be three years or five
years, depending upon your income and other factors. The court must approve your plan before it can take effect.

3. After completing the payments under your plan, your debts are generally discharged except for domestic
support obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which
are not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain
long term secured obligations.

Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)

Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with
an attomey.

Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)

Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

A person who knowingly and fraudulently conceals assets or makes a false oath or staternent under penalty of
perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the
local rules of the court.

Certificate of [Non-Attorney] Bankruptcy Petition Preparer
I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that 1 delivered to the debtor this

“SR bs PAT ECG) CPA 38870-0178

Printed name and title, if any, of Bankruptcy Petition Preparer Social Security number (If the bankruptcy petition
preparer is not an individual, state the Social Security
number of the officer, principal, responsible person, or
partner of the bankruptcy petition preparer.) (Required
by 11 U.S.C. § 110,)

 

 

principal, responsible person, or partner whose Social

Security number is provided above.
Certificate of the Debtor
I (We), the debtor(s), affirm that | (we) have received and read this g
Bulova Fay Brickweten Gud ane Fees eackas f 26.0%
Printed Name(s) of Debtor(s) ' Signature of Debtor Date
Case No. (if known) xX

 

 

 

 

Signature of Joint Debtor (ifany) Date
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Form 19B Cont.
(10/05)

DECLARATION AND SIGNATURE OF NON-ATTORNEY
BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined
in 11 U.S.C. § 110; (2) I prepared this document for compensation and have provided the
debtor with a copy of this document and the notices and information required under 11 U.S.C.
§§ 110(b), 110(h), and 342(b); and (3) if rules or guidelines have been promulgated pursuant to
11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankruptcy petition
preparers, I have given the debtor notice of the maximum amount before preparing any
document for filing for a debtor or accepting any fee from the debtor, as required by that

 

section.

SA © BALOCUN, CPA _ Ses 70- 0795
Printed or Typed Name and Title, if any, of Social Security No.
Bankruptcy Petition Preparer (Required by 11 U.S.C. § 110.)

Lf the bankruptcy petition preparer is not an individual, state the name, title (if any), address,
and social security number of the officer, principal, responsible person, or partner who signs
this document.

s2o8-(or RACC BLud
LAY ETTEVILLE NC, 28302

Address

 

 

  

Names and Social Security numbers of all other individuals who prepared or assisted in
preparing this document, unless the bankruptcy petition preparer is not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to
the appropriate Official Form for each person.

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the
Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11
U.S.C. § 110; 18 U.S.C. § 156.
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Form 19B
(10/05)

United States Bankruptcy Court
District Of

In re P2ocics N GTBA AL RACH FAY Case No.

Debtor
Chapter / 2

NOTICE TO DEBTOR BY NON-ATTORNEY BANKRUPTCY PETITION PREPARER
[Must be filed with any document prepared by a bankruptcy petition preparer.]

 

I am a bankruptcy petition preparer. I am not an attorney and may not practice law or give legal
advice. Before preparing any document for filing as defined in § 110(a)(2) of the Bankruptcy Code
or accepting any fees, I am required by law to provide you with this notice concerning bankruptcy
petition preparers. Under the law, § 110 of the Bankruptcy Code (11 U.S.C. § 110), I am forbidden
to offer you any legal advice, including advice about any of the following:

whether to file a petition under the Bankruptcy Code (11 U.S.C. § 101 et seq.);

whether commencing a case under chapter 7, 11, 12, or 13 is appropriate;

whether your debts will be eliminated or discharged in a case under the Bankruptcy Code;

whether you will be able to retain your home, car, or other property after commencing a case

under the Bankruptcy Code;

* concerning the tax consequences of a case brought under the Bankruptcy Code;

* concerning the dischargeability of tax claims;

* whether you may or should promise to repay debts to a creditor or enter into a reaffirmation
agreement with a creditor to reaffirm a debt;

" — concerming how to characterize the nature of your interests in property or your debts; or

* concerning bankruptcy procedures and rights.

[The notice may provide additional examples of legal advice that a bankruptcy petition preparer is
not authorized to give.]

In addition, under 11 U.S.C. § 110(h), the Supreme Court or the Judicial Conference of the
United States may promulgate rules or guidelines setting a maximum allowable fee chargeable by a
bankruptcy petition preparer. As required by law, I have notified you of the maximum amount, if

ny, before preparjag any document for filing or accepting any fee from you.

Yl-_ f- 2L.0y
Signature Date Joint Debtor (if any) Date
[In a joint case, both spouses must sign.]

  
 
 

 

    

 
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Application for Credit Counseling Certification

U
And Affidavit of Identification |
es se2 O7 ML 9: 58

L Barbara Brockington, residing at (street) SRS Lordinderrg Dee,
(city) Ln bev fry ; (state) A’ (zip) 2E35 8 , duly attest that Ihave personally
completed the Hummingbird Credit Counseling and Education, Inc.’s internet credit counseling course in good faith on
04/25/2006: that in doing so, I provided information that is true, correct and complete to the best of my knowledge and
ability, and that I received certification control number 12653-E15061V-19. I understand that my certification will expire
180 days after the date of completion. I also attest that I have personally appeared and presented proper identification to

the notary below. fetus hay Lustshe

Signature
We 26 06

Today's Date

 

 

To Be Completed By Notary Public

State of Notre Cato Al
County of: C UMNOERLANS

5
I, the notary public undersigned, duly attest, under penalty of perjury, that ony 24, IGatey, Barrera fay Byrekanah
(full name), whose Social Security Number is 2-4/-35-7 : (1) appeared before me, (2) verified to my satisfaction its or

her identity, (3) signed this document in my presence, and (4) affirmed, under penalty of perjury, the truth and accuracy of

the information contained in this document. For the purpose of verifying said person’s identity, I was shown and carefally

examined the following original (as opposed to 2 photocopy) documents, which included at least: (1) one acceptable picture

ID and (2) one acceptable document verifying ssid person’s Social Security Number. More specifically, I examined the

following documents:

Acceptable Form of Picture ID (please check the document that was examined):

State Issued Driver’s License [ ] Other Government identification [ ] State picture identification
[ ] Student Identification [|] U.S. Passport | ] Military ID
|] Resident Alien Card

Acceptable Document For Proof of Social Security Number (please check the document that was examined):

[] W-2 form [] Social Security Administration Report fj Social Security Card
[ ] Medical Insurance Card [ | Internal Revenue Service Form 1099 [] Pay Stub

AFFIX NOTARY STAMP OR SEAL _
(Signature of Notary Public)

My commission expires on: Many 2S, DOE (date)

Ref: SINE

 

 
 

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Form 23

2005 COMMITTEE NOTE

The form is new. Sections 727(a)(11) and 1328(g)(1), which were added to the Code by
the Bankruptcy Abuse Prevention and Consumer Protection Act of 2005, Pub. L. No. 109-8, 119
Stat. 23 (April 20, 2005), require the debtor to complete an instructional course concerning
personal financial management as a condition for receiving a discharge. The completed form,
when filed by the debtor, will signal the clerk that this condition has been satisfied.

 

 

 
 

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April 26, 2006,

To Whom It May Concern:

I Barbara Brockington have successfully completed a financial management course with
Hummingbird Credit Counseling and Education, Inc. The company will send my
certificate within five business day, I have attached prove of this course with this
package.

Ok Brook wpa

arbara Brockington

 

 
 

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Form 23
(10/05)
United States Bankruptcy Court
, District Of
In re Rodi NGTHA/ PACBACA FAY cas No.

Debtor
Chapter / 3

DEBTOR’S CERTIFICATION OF COMPLETION OF INSTRUCTIONAL COURSE
CONCERNING PERSONAL FINANCIAL MANAGEMENT

[Complete one of the following statements.]

wy I/We, GACeACA FAY (20 CaN 6 TV ertons in the above-
(Printed Name(s) of Debtor and Jigs Debi, if any) |

styled case hereby certify that on at I/we completed an instructional

(Date) .
course in personal financial management provided by He Mmm NG I &p Geen. CouwSet “
(Name of Provider) AWD Ve

an approved personal financial management instruction provider. If the provider furnished a
document attesting to the completion of the personal financial management instructional
course, a copy of that document is attached.

 

C] We, , the debtor(s) in the above-
styled

(Printed Names of Debtor and Joint Debtor, if any)
case, hereby certify that no personal financial management course is required because:
[Check the appropriate box.]

C1 I am/We are incapacitated or disabled, as defined in 11 U.S.C. § 109(h);
O Tam/We are on active military duty in a military combat zone; or

[J I/We reside in a district in which the United States trustee (or bankruptcy administrator) has
determined that the approved instructional courses are not adequate at this time to serve the

additional individuals who would otherwise be required to complete such courses.
Signature of Debtor: Gah, bout

| a Yo
Date: Y ~26- dg

Signature of Joint Debtor:

 

Date:

 

 
 

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Form B22C (Chapter 13) (10/05) According to the caiculations required by this statement:
[_] The applicable commitment period is 3 years.
In re CACt NG TOA. The applicable commitment period is 5 years.
Debtor(s) , FAY Disposable income is determined under § 1325(b)(3).
Case Number: Disposable income is not determined under § 1325(b)(3).
(if known) (Check the boxes as directed in Lines 17 and 23 of this statement.)

 

STATEMENT OF CURRENT MONTHLY INCOME
AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME

FOR USE IN CHAPTER 13

In addition to Schedules I and J, this statement must be completed by every individual Chapter 13 debtor, whether or not filing

jointly. Joint debtors may complete one statement only.

 

Part I. REPORT OF INCOME

 

1 | a. (] Unmarried. Complete only Column A (“Debtor's Income”) for Lines 2-10.

Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.

b. [] Married. Complete both Cotumn A (“Debtor's Income”) and Column B (“Spouse’s Income”) for Lines 2-10.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

All figures must reflect average monthly income for the six calendar months prior to filing the Column A Column B
bankruptcy case, ending on the last day of the month before the filing. If you received differ- Debtor's Spouse's
ent amounts of income during these six months, you must total the amounts received during Income Income
the six months, divide this total by six, and enter the result on the appropriate line.
2__| Gross wages, salary, tips, bonuses, overtime, commissions. roy S00 $o—
Income from the operation of a business, profession, or farm. Subtract Line b from
Line @ and enter the difference on Line 3. Do not enter a number less than zero, Do not in-
clude any part of the business expenses entered on Line b as a deduction in Part IV,
3 a. Gross receipts $
b. Ordinary and necessary business expenses $
c. Business income Subtract Line b from Line a ¢ $ —_—
Rent and other real property income. Subtract Line b from Line a and enter the difference
on Line 4. Do not enter a number less than zero. Do not include any part of the operat-
ing expenses entered on Line b as a deduction in Part IV.
4 a. Gross receipts $
b. Ordinary and necessary operating expenses $
c. Rental income Subtract Line b from Line a $ —
2 | Interest, dividends, and royalties. $ _
6 | Pension and retirement income. —_—
Regular contributions to the household expenses of the debtor or the debtor's de-
7 | pendents, including child or spousal support. Do not include contributions from the
debtor's spouse. $ $ —
Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
However, if you contend that unemployment compensation received by you or your spouse
was a benefit under the Social Security Act, do not list the amount of such compensation in
8 | Column A or B, but instead state the amount in the space below:
Unemployment compensation claimed to
be a benefit under the Social Security Act | Debtor $ Spouse $ $ $ —
Income from all other sources, Specify source and amount. If necessary, list additional
Sources On 4 separate page. Total and enter on Line 9. Do not include any benefits received
under the Social Security Act or payments received as a victim of a war crime, crime against
9 | humanity, or as a victim of international or domestic terrorism.
a. $
b. $ $ $$
19 | Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2
through 9 in Column B. Enter the total(s). 50 0 —

 

 

 

 

Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B, and
11. | enter the total. If Column B has not been completed, enter the amount from Line 10, Col-
umn A.

 

 

 

+5, S10: 00

 

 

 

 

 
 

 

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Form B 22C (Chapter 13) (10/05) >

 

Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
12 | Enter the amount from Line 11. SSOO

Marital adjustment. if you are married, but are not filing jointly with your spouse, AND if you contend
13 | that calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of
your spouse, enter the amount of the income listed in Line 10, Column B that was NOT regularly contrib- J

 

 

uted to the household expenses of you or your dependents. Otherwise, enter zero.

 

14 | Subtract Line 13 from Line 12 and enter the result. gS S00

15 | Annualized current monthly income for § 1325(b)(4). Multiply the amount from Line 14 by O6
the number 12 and enter the result. $ OC)

 

 

Applicable median family income. Enter the median family income for applicable state and house-
1g | hold size. (This information is available by family size at Www.usdoj.qov/ust/ or from the clerk of the

bankruptcy court.)
a, Enter debtor's state of residence: { Y ( . b, Enter debtor’s household size: | $

Application of § 1325(b)(4). Check the applicable box and proceed as directed.

C] The amount on Line 15 is less than the amount on Line 16. Check the box for “The applicable commit-
17 ment period is 3 years” at the top of page 1 of this statement and complete Part VII of this statement. Do not com-
plete Parts II, IV, V or VI.

C) The amount on Line 15 is not less than the amount on Line 16. Check the box for "The applicable com-
mitment period is 5 years” at the top of page 1 of this statement and continue with Part III of this statement.

 

 

 

 

 

 

Part IIT. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
18 | Enter the amount from Line 11. $5, S00

Marital adjustment. If you are married, but are not filing jointly with your spouse, enter the amount
19 | of the income listed in Line 10, Column B that was NOT regularly contributed to the household expenses of
you or your dependents. If you are unmarried or married and filing jointly with your spouse, enter zero. $ ©)

20 | Current monthly income for § 1325(b)(3). Subtract Line 19 from Line 18 and enter the result. . 3S, SOO
21 | Annuatized current monthly income for § 1325(b)(3). Multiply the amount from Line 20 by

the number 12 and enter the result. $ 66, OOD

22 | Applicable median family income. Enter the amount from Line 16. $

 

 

 

 

 

 

 

Application of § 1325(b)(3). Check the applicable box and proceed as directed.

(1 The amount on Line 21 is more than the amount on Line 22. Check the box for “Disposable income is de-

23 termined under § 1325(b)(3)” at the top of page 1 of this statement and complete the remaining parts of this state-
ment.

C] the amount on Line 21 is not more than the amount on Line 22, Check the box for “Disposable income
is not determined under § 1325(b)(3)" at the top of page 1 of this statement and complete Part VII of this statement.
Do not complete Parts IV, V, or VI.

 

 

 

 

Part IV. CALCULATION OF DEDUCTIONS ALLOWED UNDER § 707(b)(2)
Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)

National Standards: food, clothing, household supplies, personal care, and miscella-
24 | meous. Enter the “Total” amount from IRS National Standards for Allowable Living Expenses for the appli-
cable family size and income level. (This information is available at www.usdoj.gov/ust/ or from the clerk
of the bankruptcy court.) $

 

 

 

Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the
25A | IRS Housing and Utilities Standards; non-mortgage expenses for the applicable county and family size.
(This information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court). $

 

 

 

 

 

 
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Form B 22C (Chapter 13) (10/05)

3

 

25B

Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the
amount of the IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size
(this information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on
Line b the total of the Average Monthly Payments for any debts secured by your home, as stated in Line
47, subtract Line b from Line a and enter the result in Line 258. Do not enter an amount less than
zero.

 

a. IRS Housing and Utilities Standards; mortgage/rent Expense $

 

b. Average Monthly Payment for any debts secured by your
home, if any, as stated in Line 47 $

 

 

 

 

 

c. Net mortgage/rental expense Subtract Line b from Line a.

 

 

26

Local Standards: housing and utilities; adjustment. if you contend that the process set out in
Lines 25A and 25B does not accurately compute the allowance to which you are entitled under the IRS
Housing and Utilities Standards, enter any additional amount to which you contend you are entitled, and
state the basis for your contention in the space below:

 

 

 

 

27

Local Standards: transportation; vehicle operation/public transportation expense.
You are entitled to an expense allowance in this category regardless of whether you pay the expenses of
operating a vehicle and regardless of whether you use public transportation.

Check the number of vehicles for which you pay the operating expenses or for which the operating ex-
penses are included as a contribution to your household expenses in Line 7. TJ0 [1 2 or more.

Enter the amount from IRS Transportation Standards, Operating Costs & Public Transportation Costs for
the applicable number of vehicles in the applicable Metropolitan Statistical Area or Census Region. (This
information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.)

 

 

28

Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number
of vehicles for which you claim an ownership/lease expense. (You may not claim an ownership/lease ex-
pense for more than two vehicles.) [1 [] 2 or more.

Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, First Car (avail-
able at Wwww.usdol.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the Av-
erage Monthly Payments for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from
Line a and enter the result in Line 28. Do not enter an amount fess than zero.

a. IRS Transportation Standards, Ownership Costs, First Car $

 

 

b. Average Monthly Payment for any debts secured by Vehicle 1,
as stated in Line 47 $

c Net ownership/lease expense for Vehicle 1 Subtract Line b from Line a.

 

 

 

 

 

 

 

29

Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line
only if you checked the °2 or more” Box in Line 28.

Enter, in Line a below, the amount of the IRS Transportation Standards, Ownership Costs, Second Car
(available at Www.usdoi-gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of
the Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b
from Line a and enter the result in Line 29, Do not enter an amount less than zero.

 

a. IRS Transportation Standards, Ownership Costs, Second Car $

 

b. Average Monthly Payment for any debts secured by Vehicle 2,
as stated in Line 47 $

 

 

 

 

 

c Net ownership/lease expense for Vehicle 2 Subtract Line b from Line a.

 

 

30

Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur
for all federal, state, and local taxes, other than real estate and sales taxes, such as income taxes, self
employment taxes, social security taxes, and Medicare taxes. Do not include real estate or sales
taxes.

 

31

 

 

Other Necessary Expenses: mandatory payroll deductions. Enter the total average monthly
payroll deductions that are required for your employment, such as mandatory retirement contributions,
union dues, and uniform costs. Do not include discretionary amounts, such as non-mandatory
401(k) contributions.

 

 

 

 
 

 

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Form B 22C (Chapter 13) (10/05)

 

32

Other Necessary Expenses: life insurance. Enter average monthly premiums that you actually
pay for term life insurance for yourself. Do not include premiums for Insurance on your depend-
ents, for whole life or for any other form of insurance.

 

33

Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that
you are required to pay pursuant to court order, such as spousal or child support payments. Do not in-
clude payments on past due Support obligations included in Line 49.

 

34

 

Other Necessary Expenses: education for employment or for a physically or mentally
challenged child. Enter the total monthly amount that you actually expend for education that is a
condition of employment and for education that is required for a physically or mentally challenged depend-
ent child for whom no public education Providing similar services is available.

 

35

Other Necessary Expenses: childcare. Enter the average monthly amount that you actually ex-
pend on childcare. Do not include payments made for children’s education.

 

36

 

Other Necessary Expenses: health care. Enter the average monthly amount that you actually
expend on health care expenses that are not reimbursed by insurance or paid by a health savings account.
Do not include payments for health insurance listed in Line 39,

 

37

Other Necessary Expenses: telecommunication services. Enter the average monthly ex-
Penses that you actually pay for cell phones, pagers, call waiting, caller identification, special long dis-
tance, or internet services necessary for the health and welfare of you or your dependents. Do not in-
clude any amount previously deducted.

 

38

 

Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.

 

Subpart B: Additional Expense Deductions under § 707(b)
Note: Do not include any expenses that you have listed in Lines 24-37

 

39

 

Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the
average monthly amounts that you actually expend in each of the following categories and enter the total.

 

a. Health Insurance $

 

b. Disability Insurance $

 

c. Health Savings Account $

 

 

 

 

 

Total: Add Lines a, b, and c |

 

 

40

 

Continued contributions to the care of household or family members. Enter the actual
monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
elderly, chronically ill, or disabled member of your household or member of your immediate family who is
unable to pay for such expenses. Do not include payments listed in Line 34.

 

41

Protection against family violence. Enter any average monthly expenses that you actually in-
Curred to maintain the safety of your family under the Family Violence Prevention and Services Act or
other applicable federal law.

 

42

 

Home energy costs in excess of the allowance specified by the IRS Local Standards.
Enter the average monthly amount by which your home energy costs exceed the allowance in the IRS Lo-
cal Standards for Housing and Utilities. You must Provide your case trustee with documentation
demonstrating that the additional amount claimed is reasonable and necessary.

 

43

Education expenses for dependent children under 18. Enter the average monthly expenses
that you actually incur, not to exceed $125 per child, in providing elementary and secondary education for
your dependent children less than 18 years of age. You must provide your case trustee with docu-
mentation demonstrating that the amount claimed is reasonable and necessary and not already
accounted for in the IRS Standards.

 

Additional food and clothing expense. Enter the average monthly amount by which your food and
clothing expenses exceed the combined allowances for food and apparel in the IRS National Standards, not
to exceed five percent of those combined allowances. (This information is available at www,usdoj.gov/ust/
or from the clerk of the bankruptcy court.) You must provide your case trustee with documentation
demonstrating that the additional amount claimed is reasonable and necessary.

 

 

 

45

Continued charitable contributions, Enter the amount that you will continue to contribute in the
form of cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).

 

46

 

 

Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45,

 

 

 

 

 
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Form B 22C (Chapter 13) (10/05)

5

 

Subpart C: Deductions for Debt Payment

 

Future payments on secured claims. For each of your debts that is secured by an interest in prop-
erty that you own, list the name of the creditor, identify the property securing the debt, and state the Av-
erage Monthly Payment, The Average Monthly Payment is the total of all amounts contractually due to
each Secured Creditor in the 60 months following the filing of the bankruptcy case, divided by 60. Mort-
gage debts should include payments of taxes and insurance required by the mortgage. If necessary, list
additional entries on a separate page.

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

47
Name of Creditor Property Securing the Debt 60-month Average Payment |
a. 1325 CONDONDERRY DR. | $3, 00°00 a moth
b. ahs 325 LonDonety dL. 1s “GAS. 00 a month
c. fF Tones B “325° Londow den BCs (, GéT00 a mmnh| _
Total: Add Lines a, b, and c $ 5 S42.
Past due payments on secured claims. If any of the debts listed in Line 47 are in default, and the
Property securing the debt is necessary for your support or the support of your dependents, you may in-
clude in your deductions 1/60th of the amount that you must pay the creditor as a result of the default
{the “cure amount”) in order to maintain possession of the property. List any such amounts in the follow-
ing chart and enter the total. If necessary, list additional entries on a separate page.
48 Name of Creditor Property Securing the Debt in Default 1/60th of the Cure Amount
a. fae ot de "S22 Lyewdlan aguen bY. [$3 coe@
b. C. Wohady 825 Landendewy Bvi [$s G26
c. Fade aes | Sat Levndyaderty By.[s 1667
Total: Add Lines a, b, and c $ 3554 2.
49 Payments on priority claims. Enter the total amount of ail priority claims (including priority child
support and alimony claims), divided by 60. $@
Chapter 13 administrative expenses. Muitiply the amount in Line a by the amount in Line b, and
enter the resulting administrative expense.
a. | Projected average monthly Chapter 13 plan payment. $
50 b. | Current multiplier for your district as determined under sched-
ules issued by the Executive Office for United States Trustees.
(This information is available at www.usdoj.qov/ust/ or from the
clerk of the bankruptcy court.) x
c. | Average monthly administrative expense of Chapter 13 case
Total: Multiply Lines a and b $
51 | Total Deductions for Debt Payment. Enter the total of Lines 47 through 50. $
Subpart D: Total Deductions Allowed under § 707(b)(2)
22 | Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 38, 46, and 51. [:

 

 

 

Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)

 

 

 

 

 

 

 

 

 

53 | Total current monthly income. Enter the amount from Line 20. $ 5S
Support income. Enter the monthly average of any child support payments, foster care payments, or
54 | disability payments for a dependent child, included in Line 7, that you received in accordance with applica-
ble nonbankruptcy law, to the extent reasonably necessary to be expended for such child. $ (@)
Qualified retirement deductions. Enter the monthly average of (a) all contributions or wage de-
55 | ductions made to qualified retirement plans, as specified in § 541(b)(7) and (b) all repayments of loans
from retirement plans, as specified in § 362(b)(19). $ ©
56 | Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52, $
57 | Total adjustments to determine disposable income. Add the amounts on Lines 54, 55, and 56
and enter the result, $
58 Monthly Disposable Income Under § 1325(b)(2). Subtract Line 57 from Line 53 and enter the I;

 

 

 
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Form B 22C (Chapter 13) (10/05)

| result. |

6

 

Part VI: ADDITIONAL EXPENSE CLAIMS

 

59

 

Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the
health and welfare of you and your family and that you contend should be an additional deduction from your current
monthly income under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should re-
flect your average monthly expense for each item. Total the expenses.

 

 

 

 

 

Expense Description Monthly Amount
a $
b, $
c. $
Total: Add Lines a, b, andc $

 

 

 

 

 

 

Part VIT: VERIFICATION

 

60

 

 

I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
both debtors must sign.)

Date: Signature:
(Debtor)

Dates Signature:
Qoint Debtor, if any)

 

 

 
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Form B6
(10/05)

FORM 6. SCHEDULES

Summary of Schedules
Statistical Summary of Certain Liabilities

Schedule A - Real Property

Schedule B - Personal Property

Schedule C - Property Claimed as Exempt

Schedule D - Creditors Holding Secured Claims

Schedule E - Creditors Holding Unsecured Priority Claims
Schedule F - Creditors Holding Unsecured Nonpriority Claims
Schedule G - Executory Contracts and Unexpired Leases
Schedule H - Codebtors

Schedule I - Current Income of Individual Debtor(s)

Schedule J - Current Expenditures of Individual Debtor(s)

Unsworn Declaration under Penalty of Perjury

GENERAL INSTRUCTIONS: The first page of the debtor’s schedules and the first page of any
amendments thereto must contain a caption as in Form 16B. Subsequent pages should be
identified with the debtor’s name and case number. If the schedules are filed with the petition,
the case number should be left blank

Schedules D, E, and F have been designed for the listing of each claim only once. Even when a
claim is secured only in part or entitled to priority only in part, it still should be listed only once.
A claim which is secured in whole or in part should be listed on Schedule D only, and a claim
which is entitled to priority in whole or in part should be listed on Schedule E only. Do not list
the same claim twice. If a creditor has more than one claim, such as claims arising from separate
transactions, each claim should be scheduled separately.

Review the specific instructions for each schedule before completing the schedule.

 
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Form 6-Summary
(10/05)

District Of
In re 6 ROCK NGTW. DALBARA TAY Case No.
“= chapter 13
SUMMARY OF SCHEDULES

Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, 1,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the amounts of all
claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also complete the “Statistical
Summary of Certain Liabilities.”

United States Bankruptcy Court

4MOUNTS SCHEDULED
= po

 

     
  

 

NAME OF SCHEDULE (YES/NO) NO. OF SHEETS ASSETS

eee YES | One ‘Con aid
—e YES| ont |’ 20}

C - Property Claimed

as Exempt NES ONE Le
‘emi | Yeslone |

B- Cres Holding Unsecured N 0 ee
em Yes Ade

G - Executory Contracts and

Unexpired Leases NV 0 —-+
H - Codebtors NO __

I- Current Income of

Semen 1S QUO) OVE

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

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Form B6A
(10/05)

nn PROCKINGTEA BALBRCR Fy can

Debtor

 

(If known)

SCHEDULE A - REAL PROPERTY

Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
tenant, community property, or in which the debtor has a life estate, Include any property in which the debtor holds rights and powers exercisable for
the debtor’s own benefit, If the debtor is married, state whether husband, wife, or both own the property by placing an “H,” “W,” “J,” or “C” in the
column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location
of Property.”

Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. Ifno entity claims
to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property
Claimed as Exempt.

 

DESCRIPTION AND
LOCATION OF NATURE OF DEBTOR’S
PROPERTY INTEREST IN PROPERTY

CURRENT VALUE AMOUNT OF
OF DEBTOR'S SECURED
INTEREST IN CLAIM

PROPERTY, WITHOUT
DEDUCTING ANY
SECURED CLAIM

OR EXEMPTION

HUSBAND, WIFE, JOINT,
OR COMMUNITY

 

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Siive Lumbe tf CV Du 606,000 | #6 60,c00

NC 2€3S58

 

 

 

 

 

 

 

Toul | (560, OOP

(Report also on Summary of Schedules.)

 

 
 

 

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Form B6B
(10/05)

ne PRECKINC TA BARBRRAFAY a.

Debtor (if known)

 

SCHEDULE B - PERSONAL PROPERTY

Except as directed below, list all personal property of the debtor of whatever kind, If the debtor has no property in one or more of the categories,
place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach 4 separate sheet properly
identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, or both own the
property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.

If the property is being held for the debtor by someone else, state that person's name and address under “Description and Location of Property.” In
providing the information requested in this schedule, do not include the name or address of a minor child. Simply state “a minor child.”

 

CURRENT VALUE OF
DEBTOR’S INTEREST
IN PROPERTY, WITH-
TYPE OF PROPERTY OUT DEDUCTING ANY
SECURED CLAIM
Ps OR EXEMPTION

1. Cash on hand. Bo Nowe

2. Checking, savings or other finan-
cial accounts, certificates of deposit, on
or shares in banks, savings and loan, Ne OWE
thrift, building and loan, and home-
stead associations, or credit unions,
brokerage houses, or cooperatives.

DESCRIPTION AND LOCATION
OF PROPERTY

BAZOZ

HUSBAND, WIFE, JOINT,

 

3. Security deposits with public util-
ities, telephone companies, Jand-
lords, and others. @)

4. Household goods and furnishings,
including audio, video, and computer

equipment, 290 2 Le rDev PEARY ft “2. CO ©

3. Books; pictures and other art

objects; antiques; stamp, coin, LI VE. l t { ph PLT, NN ,
record, tape, compact disc, and other /
collections or collectibles.

6. Wearing apparel. Co AW gn AY
7. Furs and jewelry. MOUS Ly m(yaeto AA A /, CODO

8. Firearms and sports, photo-

graphic, and other hobby equipment. N 4
9. Interests in insurance policies. OQ 0

Name insurance company of each

policy and itemize surrender or O N one
10. Amnuities. Itemize and name

each issuer. O Ni. One

11. Interests in an education IRA as

refund value of each.

defined in 26 U.S.C, § 530(b)(1) or wader
a qualified State tuition plan as defined in
26 U.S.C. § 529(bX(1). Give particulars.
(File separately the record(s) of any such
interest(s). 11 U.S.C. § 521(c); Rule

1007(b)).

 

 

 

 

 

 

 

 

 
 

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Form B6B-Cant.
(10/05)
In re Boca N CTON), LAgbAcA | Y Case No.
Debtor (if known)
SCHEDULE B - PERSONAL PROPERTY
(Continuation Sheet)
5 CURRENT VALUE OF
DEBTOR’S INTEREST
N E IN PROPERTY, WITH-
TYPE OF PROPERTY oO DESCRIPTION AND LOCATION OUT DEDUCTING ANY
N OF PROPERTY SECURED CLAIM
E s OR EXEMPTION
12. Interests in IRA, ERISA, Keogh, or ©O
other pension or profit sharing plans. oOo
Give particulars.
13. Stock and interests in incorpo-
tated and unincorporated businesses. oO —
Ttemize.
14. Interests in partnerships or joint ©
ventures. Itemize. ——
15. Government and corporate bonds ,
and other negotiable and non- ~ _
negotiable instruments. © —_——
16. Accounts receivable.
© _
17. Alimony, maintenance, support, a
and property settlements to which the
debtor is or may be entitled. Give @
particulars. ——— ———

18. Other liquidated debts owed to
debtor including tax refunds. Give
particulars.

19, Equitable or future interests, life
estates, and rights or powers exercis-
able for the benefit of the debtor other

than those listed in Schedule A — Real ©
Property.

20. Contingent and noncontingent
interests in estate of a decedent, death ———
benefit plan, life insurance policy, or trust. 7] —_—

21. Other contingent and unliquidated
claims of every nature, including tax
tefiinds, counterclaims of the debtor, and
Tights to setoff claims. Give estimated 0 —_—_——
value of each.

 

 

 

 

 

 

 
 

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Form B6B-cont.
(10/05)
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we Po ciciNGToON), BACARRA FAY oy
Debtor ' (If known)
(Continuation Sheet)
5 CURRENT VALUE OF
DEBTOR’S INTEREST
N § IN PROPERTY, WITH-
TYPE OF PROPERTY o DESCRIPTION AND LOCATION OUT DEDUCTING ANY
N OF PROPERTY SECURED CLAIM
E % OR EXEMPTION
22. Patents, copyrights, and other © —,
inteHectual property. Give particulars. - *
23. Licenses, franchises, and other general
intangibles. Give particulars. © —_—,
24, Customer lists or other compilations
containing personally identifiable
information (as defined in 11 U.S.C. §
101(41A)) provided to the debtor by
individuals in connection with obtaining —_———$_—
a product or service from the debtor ©
primarily for personal, family, or V———
household purposes.
25. Automobiles, trucks, trailers,
and other vehicles and accessories. © ‘
26. Boats, motors, and accessories. OO ——y
27, Aircraft and accessories. ©
28. Office equipment, furnishings,
and supplies. 2 _—_
29. Machinery, fixtures, equipment, vV————
and supplies used in business. 0
——
30. Inventory. 0
—_—————ws
31. Animals, o —_—,
32. Crops - growing or harvested. ve
Give particulars. i)
es
33. Farming equipment and implements. ¢ ——
34. Farm supplies, chemicals, and feed. ©
—_.
35. Other personal property of any kind a
not already listed. Itemize. O
continuation sheets attached Total > $ « ) ra oO

 

 

(include amounts from any continuation.
sheets attached. Report total also on
Summary of Schedules.)
 

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m BRocte NGroa| BACRACA AY

Debtor

SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

(if known)

Debtor claims the exemptions to which debtor is entitled under: L] Check if debtor claims a homestead exemption that exceeds

 

 

(Check one box) $125,000.
‘Bt 11 U.S.C. § 522(b)(2)
1 11 U.S.C. § 522(b)(3)
CURRENT
SPECIFY LAW VALUE OF VALUE OF PROPERTY
DESCRIPTION OF PROPERTY PROVIDING EACH CLAIMED WITHOUT DEDUCTING
EXEMPTION EXEMPTION EXEMPTION
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Vv r “ . .
+U nV we It Ue ES22G\0) 2502) 2500

Chotturis | USA Se2c8O | 200 Looe

 

 

 

 

 

 

 

 
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Form B6D .
(10/08) In re Brecic NEroA) Paegaca ras No.

Debtor (If known)

 

SCHEDULE D— CREDITORS HOLDING SECURED CLAIMS

State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by
property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful
to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests such as
judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.

List creditors in alphabetical order to the extent practicable, If a minor child is a creditor, indicate that by stating “a minor child” and do
not disclose the child’s name. See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation
sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the
entity on the appropriate schedule of creditors, and complete Schedule H — Codebtors. If a joint petition is filed, state whether husband, wife, both of
them, or the marital community may be liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or
Community.”

If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column
labeled “Unliquidated.” If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of
these three columns.)

Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total
also on the Summary of Schedules.

C] Check this box if debtor has no creditors holding secured claims to report on this Schedule D.

 

 

 

 

 

CREDITOR’S NAME AND > | DATE CLAIM WAS 8 | « | AMOUNT OF CLAIM } UNSECURED
MAILING ADDRESS & fe INCURRED, z im WITHOUT PORTION, IF
INCLUDING ZIP CODE AND | | 7.9 NATURE OF LIEN, | © | & F DEDUCTING VALUE ANY
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(See Instructions Above) a) 255 DESCRIPTION FIi9is
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SUBJECT TO LIEN
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ACCOUNT NO,

 

AMC Movtorce

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ACCOUNT NO. GF COD SH) 7/2.
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ACCOUNT NO. AL HATE

 

 

 

 

 

 

 

 

 

 

VALUE $577 000

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(Use only on last page) § 5 TY, oO 0 O

(Report total also on Summary of Schedules)

 

 

 

 

 

 

 
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Form B6D — Cont.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

(10/05)
Ia re 5 Case No.
Debtor (if known)
SCHEDULE D —- CREDITORS HOLDING SECURED CLAIMS
(Continuation Sheet)
CREDITOR’S NAME AND uf oo DATE CLAIM WAS a AMOUNT OF CLAIM UNSECURED
MAILING ADDRESS & B we INCURRED, NATURE z Ela WITHOUT PORTION, IF
INCLUDING ZIP CODE ee 2 OF LIEN , AND ols 5 DEDUCTING VALUE ANY
AND AN ACCOUNT s 5 z DESCRIPTION AND 5| 2 OF COLLATERAL
NUMBER B < 6 = | VALUE OF PROPERTY S| 2
(See Instructions Above) 5 g * o SUBJECT TO LIEN 8 3 a
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ACCOUNT NO.
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VALUE $
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ACCOUNT NO.
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Sheet no.__ of__ continuation Subtotal » §
sheets attached to Schedule of (Total of this page)
Creditors Holding Secured
Claims
Total $

(Use only on last page)

 

 

 

 
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Form B6E.
(10/05)

 

Inr rR Clee NGroA BAR RARA, PAY Case No.

Debtor (if known)

SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
the type of priority,

The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
the debtor chooses to do so. If a minor child is a creditor, indicate that by stating “a minor child” and do not disclose the child’s name. See 11
U.S.C. § 112; Fed.R.Bankr,P, 1007(m).

If any entity other than 4 spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,” include the
entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
both of them or the marital community may be liable on each claim by placing an "H,""W,""," or "C" in the column labeled "Husband, Wife,
Joint, or Community." If the claim is contingent, place an "X" in the column labeled “Contingent.” If the claim is unliquidated, place an "X"
in the column labeled "Unliquidated.” If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
more than one of these three columns.)

Report the total of claims listed on cach sheet in the box labeled “Subtotal” on each sheet, Report the total of all claims listed on this
Schedule E in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all

amounts entitled to priority listed on this Schedule E in the box labeled “Total” on the last sheet of the completed schedule. If applicable, also
report this total on the Means Test form.

i Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.
TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
(LJ Domestic Support Obligations

Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
U.S.C. § 507(a)(1).
C Extensions of credit in an involuntary case

Claims ansing in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

O Wages, salaries, and commissions
Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying

independent sales representatives up to $10,000* per person earned within 180 days immediately preceding the filing of the original petition, or
the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

O Contributions to employee benefit plans

Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

 
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Form BGE Contd.
(10/03)

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Debtor (if known)

 

 

O Certain farmers and fishermen

Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a\(6),
iP

[_] Deposits by individuals

Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal, family, or houschold use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).
CJ Taxes and Certain Other Debts Owed to Governmental Units

Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(aX{B).

O Commitments to Maintain the Capital of an Insured Depository Institution

Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
U.S.C. § 507 (a)(9).
(CJ ctatms for Death or Personal Injury White Debtor Was Intoxicated

Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
alcohol, a drug, or another substance. 11 U.S.C. § 507(aX{10).

* Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

continuation sheets attached
 

 

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Official Form 6
continued

INSTRUCTIONS FOR COMPLETING SCHEDULE E
CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

I. INTRODUCTION

This schedule lists the types of unsecured claims that are entitled to priority. It requests
the debtor to indicate the existence of claims in each category. Unsecured debts are those for
which the creditor does not have a lien or other collateral.

Those claims that are considered "priority" are specified in section 507 of the Bankruptcy
Code. They are given an order of importance, and they enjoy priority in payment over other
unsecured claims. Frequently, unsecured priority claims are subject to monetary restrictions that
must be taken into account in this form. For example, under section 507(a)(4) of the Bankruptcy
Code, contributions to employee benefit plans enjoy priority status, but only to the extent of the
number of employees covered by each plan multiplied in 1999 by $4,300. (These amounts were
adjusted on April 1, 1998, to reflect changes in the Consumer Price Index (CPP) and will be
readjusted every three years thereafter). A debtor must be careful to take into account any
restrictions imposed on unsecured priority claims when filling out this form. This schedule asks
for both the total amount of the claim and the amount of that claim that is entitled to priority
under section 507 of the Bankruptcy Code.

fl. APPLICABLE LAW AND RULES
Types of Priority Claims:

1) Not included in this form but first on the priorities list are administrative expenses, fees,
and charges incurred by the estate during the bankruptcy case. 11 U.S.C. § 507(a)(1). Those who
are entitled to payment under this section are not deemed "creditors" in the bankruptcy case. The
bulk of administrative expense claims arise after the case is filed. Accordingly, the amounts
incurred, and often the identity of many who eventually become claimants, are unknown at the
time the schedules are filed.

2) The second priority is afforded to claims under 11 U.S.C. § 507(a)(2) of the Bankruptcy
Code to the group frequently known as "involuntary gap" creditors. Involuntary gap creditors are
those whose claims arise in an involuntary case during the “gap" between the commencement of
the case and the earlier of the appointment of a trustee or the order for relief. These claims are
allowable under section 502(f) of the Bankruptcy Code.

 

 
 

 

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Form B6F )

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(If known)

SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

State the name, mailing address, including zip code, and last four digits of any account sumber, of all entities holding unsecured claims without priority against
the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
useful to the trustee and the creditor and may be provided if the debtor chooses to do so. Ifa minor child is a creditor, indicate that by stating “a minor child”
and do not disclose the child’s name. See 11 U.S.C. § 112; Fed. R. Bankr P. 1007(m). Do not include claims listed in Schedules D and E. If all creditors will
not fit on this page, use the continuation sheet provided.

If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the
appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
community maybe liable on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.”
If the claim is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

Report the total of al) claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the
Summary of Schedules.

(1 Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

 

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CREDITOR’S NAME, S| & be DATE CLAIM WAS Z E F AMOUNT OF
MAILING ADDRESS ma |e e INCURRED AND S}|<|P CLAIM
INCLUDING ZIP CODE, | 8 z Es CONSIDERATION FOR F 51g
AND ACCOUNT NUMBER | © a CLAIM. Z219/8
See instructions above, Az IF CLAIMIS SUBJECTTO | 5 | 3
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continuation sheets attached Total | $
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( Report also on Summary of Schedules.)

 

 

 

 

 

 

 
 

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In re bec NG TON), BAREALA FAY Case No.

Debtor

SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

 

(if known)

(Continuation Sheet)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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MAILING ADDRESS mF £ INCURRED AND O}< CLAIM
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( Report also on Summary of Schedules.)

 

 

 

 
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SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

 

(if knows)

 

(Continuation Sheet)
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CREDITOR'S NAME, ce \e DATECLAMWAS | @ | & | B | AMOUNTOF
MAILING ADDRESS a |e & INCURRED AND 214 |e CLAIM
INCLUDING ZIPCODE, | 8 | & CONSIDERATION FOR | & B |S
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(See instructions above.) S&S | icLamMIsSUBIECTTO | 0 2
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Creditors Holding Unsecured Nonpriority Claims
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(Use only on last page of the completed Schedule F.) }

( Report also on Summary of Schedules.)

 

 

 

 

 

 

 

 

 

 
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Form BG
(10405)

 

Debtor

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(if known)

SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare
interests. State nature of debtor's interest in contract, i-c., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or
lessee of a lease. Provide the names and complete mailing addresses of all other parties to each lease or contract described. If
a minor child is a party to one of the leases or contracts, indicate that by stating “a minor child” and do not disclose the child’s

name. See 1] U.S.C. § 112; Fed.R. Bankr, P. 1007(m).

bi creck this box if debtor has no executory contracts or unexpired leases.

 

NAME AND MAILING ADDRESS,
INCLUDING ZIP CODE,
OF OTHER PARTIES TO LEASE OR CONTRACT.

DESCRIPTION OF CONTRACT OR LEASE AND
NATURE OF DEBTOR’S INTEREST. STATE
WHETHER LEASE IS FOR NONRESIDENTIAL
REAL PROPERTY. STATE CONTRACT
NUMBER OF ANY GOVERNMENT CONTRACT.

 

 

 

 

 

 

 

 

 

 

 

 
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Form B6H
(10/05)

wWALOCK NGA) RHRPAPA FAY...

SCHEDULE H - CODEBTORS

 

(if known)

Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by
debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
commonwealth, of territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of any
former spouse who resides or resided with the debtor in the community property state, commonwealth, of territory. Include all names used by the
nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, indicate
that by stating “‘a minor child” and do not disclose the child’s name. See 11 U.S.C. § 112; Fed. Bankr. P. 1007(m),

Kf Check this box if debtor has no codebtors.

 

NAME AND ADDRESS OF CODEBTOR NAME AND ADDRESS OF CREDITOR

 

 

 

 

 
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Form Bél

nw DROCING THA) BARPALA-FAY

Debtor (if known)

SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)

The column labeled “Spouse” must be completed in ali cases filed by joint debtors and by a married debtor in a chapter 7, 11, 12, or 13 case
whether or not a joint petition is filed, waless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child.

Debtor’s Marital DEPENDENTS OF DEBTOR AND SPOUSE
Status:
BSINGCL RELATIONSHP: ELE AGE: 443,

Employment: DEBTOR

Sucre

 

 

7 NG
INCOME: (Estimate of average monthly income) DEBTOR SPOUSE
1. Current monthly gross wages, salary, and commissions $9,200 $
(Prorate if not paid monthly.)
2. Estimate monthly overtime $ —— $e

 

 

3. SUBTOTAL

 

 

 

a. Payroll taxes and social security
b. Insurance

c. Union dues

d. Other (Specify):

5. SUBTOTAL OF PAYROLL DEDUCTIONS 5 g g ¢ ) $

sSSDO _
4. LESS PAYROLL DEDUCTIONS 4F p
“—m

oA oF GF OF

 

 

 

 

 

 

 

6. TOTAL NET MONTHLY TAKE HOME PAY s 4. S10 $

7, Regular income from operation of business or profession or farm. $ £7 $
(Attach detailed statement)

8. Income from real property S_f* §

9. Interest and dividends $s & $

10. Alimony, maintenance or support payments payable to the debtor for $ ey $

the debtor's use or that of dependents listed above.
11. Social security or government assistance

 

 

 

(Specify):_ 5 $

12. Pension or retirement income 2 $
13. Other monthly income $

(Specify): $f $

 

 

 

14. SUBTOTAL OF LINES 7 THROUGH 13
15, TOTAL MONTHLY INCOME (Add amounts shown on lines 6 and 14) | $ 4. ‘ S [ ( > §

16. TOTAL COMBINED MONTHLY INCOME: $
(Report also on Summary of Schedules.)

 

 

 

 

 

17. Tt any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:

— 20 fetes fa fey ber SOy

 

 

 

 
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Debtor (if known)

 

SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)

Complete this schedule by estimating the average monthly expenses of the debtor and the debtor's family. Pro rate any payments made bi-weekly,
quarterly, semi-annually, or annually to show monthly rate.

Check this box if a joint petition is filed and debtor's spouse maintains a separate houschold. Complete a separate schedule of expenditures
labeled “Spouse.”

 

1. Rent or home mortgage payment (include lot rented for mobile home) $ B25: 00
a. Are real estate taxes included? Yes No x“
b. Is property insurance included? Yes No x
2. Utilities: a. Electricity and heating fuel $ (Sl00_
b. Water and sewer $__ o :
c. Telephone $ ~ 6
d. Other $e
3. Home maintenance (repairs and upkeep) $ “200-0 O_
4. Food $ '0

5. Clothing s_ 100-00
6. Laundry and dry cleaning $_20°00
7. Medical and dental expenses . $_f ot: 0a

8. Transportation (not including car payments) $ .
9, Recreation, clubs and entertainment, newspapers, magazines, etc. $ ‘
10,Charitable contributions $ !0

1] Insurance (not deducted from wages or included in home mortgage payments)
a, Homeowner's or renter’s 5 LYS on |
b. Life 3
c. Health $
d. Auto $
e, Other $

12.Taxes (not deducted from wages or included in home mortgage payments)
(Specify)

13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
a. Auto $

 

 

b. Other $

c. Other $

14. Alimony, maintenance, and support paid to others $
$

$

 

15. Payments for support of additional dependents not living at your home

16, Regular expenses from operation of business, profession, or farm (attach detailed statement)

17. Other $
18. TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)

19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of

this document: LH. dock! te remax. WW Stan e.
20. STATEMENT OF MONTHL INCOME

a. Total monthly income from Line 16 of Schedule I

b. Total monthly expenses from Line 18 above

 

 

 

 

NSA
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c. Monthly net income (a. minus b.)

 

 
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Official Form 7
(10/05)

UNITED STATES BANKRUPTCY COURT

DISTRICT OF

we ROCK NCTA) APPAR FRY,

 

 

 

(if known)

STATEMENT OF FINANCIAL AFFAIRS

This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
filed, An individual debtor engaged in business as a sole proprictor, partner, family farmer, or self-employed professional,
should provide the information requested on this statement concerning all such activities as well as the individual's personal
affairs. Do not include the name or address of a minor child in this statement. Indicate payments, transfers and the like to minor
children by stating “a minor child.” See 11 U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

Questions | - 18 are to be completed by all debtors, Debtors that are or have been in business, as defined below, also
must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name,
case number (if known), and the number of the question.

DEFINITIONS

"In business.” A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership, An
individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more
of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or
self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor
engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary
employment.

“Insider.” The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of
5 percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders
of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.

 

1. Income from employment or operation of business

None State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
the basis of a fiscal rather than a calendar year may report fiscal year income, Identify the beginning and ending dates
of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
Spouses are separated and a joint petition is not filed.)

AMOUNT SOURCE

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2 Income other than from employment or operation of business

debtor's business during the two years immediately preceding the commencement of this case. Give particulars. Ifa
joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13
must state income for cach spouse whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.) :

ef State the amount of income received by the debtor other than from employment, trade, profession, operation of the

AMOUNT SOURCE

 

3. Payments to creditors

Complete «. or b, as appropriate, and ¢.

if a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
go0dS of services, and other debts to any creditor made within 90 days immediately preceding the commencement of
titis case if the aggregate value of all property that constitutes or is affected by such transfer is not less than $600,
Indicate with an asterisk (*) any payments that wete made to a creditor on account of a domestic support obligation or
as part of an altemative repayment schedule under a plan by an approved nonprofit budgeting and creditor counscling
agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses
whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR DATES OF AMOUNT AMOUNT
PAYMENTS PAID STILL OWING

 

Wi

b. Debtor whose debts are not primarily consumer debts: List cach payment or other transfer to atty creditor made
Within 90 days immediately preceding the commencement of the case if the aggregate value of all property that
constitutes or is affected by such transfer is not less than $5,000. (Married debtors fiting under chapter 12 or chapter
13 noust include payments and other transfers by cither or both spouses whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.)

_ NAME AND ADDRESS OF CREDITOR DATES OF AMOUNT AMOUNT |
PAYMENTS/ PAID OR STILL
TRANSFERS VALUE OF OWING
TRANSFERS

 

P= ()

¢. All debtors: List all payments made within one year immediately preceding the commencement of this case

to or for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 nmust
include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and
a joint petition is not filed.)

NAME AND ADDRESS OF CREDITOR DATE OF AMOUNT AMOUNT
AND RELATIONSHIP TO DEBTOR, PAYMENT PAID STILL OWING

 

4, Suits and administrative proceedings, executions, garnishments and attachments

 
 

 

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Nowe: a, List all suits and administrative proceedings to which the debtor is or was a party within one year immediately

Oo preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
and a joint petition is not filed.)

CAPTION OF SUIT COURT OR AGENCY STATUS OR

AND CASENUMBER = NATURE OF PROCEEDING AND LOCATION DISPOSITIO
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Poe |

 

 

None b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one
year irmmediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
must include information conceming property of either or both spouses whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS DESCRIPTION

OF PERSON FOR WHOSE DATE OF AND VALUE

BENEFIT PROPERTY WAS SEIZED SEIZURE LOM Oo
B2S ConmdewdEhRRy BR 12-08-05 Q 00D

Lum Petron, NC ESS

 

5. Repossessions, foreclosures and returns

None List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through 2 deed in lieu

a} of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
(Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

DATE OF REPOSSESSION, DESCRIPTION
NAME AND ADDRESS FORECLOSURE SALE, AND VALUE
OF CREDITOR OR SELLER TRANSFER OR RETURN OF PROPERTY

DAS Lon don DERRY MW #60600
LUMEERTEN, Ac 2o2e2 | 2-08-05 ©

 

 

6. Assignments and receiverships

commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by

4 a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not

filed.)
TERMS OF
NAME AND ADDRESS DATE OF ASSIGNMENT
OF ASSIGNEE ASSIGNMENT OR SETTLEMENT

None

 
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b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
include information concerning property of cither or both spouses whether or not a joint petition is filed, unless the
spouses are separated and a joint petition is not filed.)

NAME AND LOCATION DESCRIPTION
NAME AND ADDRESS = OF COURT DATE OF AND VALUE
OF CUSTODIAN CASE TITLE & NUMBER ORDER Of PROPERTY

 

7. Gifts

List all gifts or charitable contributions made within one year immediately preceding the commencement of this case
except ordinary and usual gifts to family members aggregating less than $200 in value per individual family member
and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or
chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.)

 

NAME AND ADDRESS RELATIONSHIP DESCRIPTION
OF PERSON TO DEBTOR, DATE AND VALUE
OR ORGANIZATION IF ANY OF GIFT OF GIFT

8. Losses

List all losses from fire, theft, other casualty or gambling within ome year immediately preceding the commencement
of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 nist
include losses by either or both spouses whether or not a joint petition is filed, unless the Spouses are separated and a
Joint petition is not filed.)

DESCRIPTION DESCRIPTION OF CIRCUMSTANCES AND, IF
AND VALUE OF LOSS WAS COVERED IN WHOLE OR IN PART DATE
PROPERTY BY INSURANCE, GIVE PARTICULARS OF LOSS

 

al

9. Payments related to debt counseling or bankruptcy

List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
within one year immediately preceding the commencement of this case.

DATE OF PAYMENT, AMOUNT OF MONEY OR
NAME AND ADDRESS NAME OF PAYER IF DESCRIPTION AND
OF PAYEE OTHER THAN DEBTOR VALUE OF PROPERTY

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ben ne S7bie.

 

10. Other transfers

 
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be a, List all other property, other than property transferred in the ordinary course of the business or financial affairs of

the debtor, transferred either absolutely or as security within two years immediately preceding the
commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by
either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
not filed.)

DESCRIBE PROPERTY
NAME AND ADDRESS OF TRANSFEREE, TRANSFERRED AND
RELATIONSHIP TO DEBTOR DATE VALUE RECEIVED

 

b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
to a self-settled trust or similar device of which the debtor is a beneficiary.

NAME OF TRUST OR OTHER DATE(S) OF AMOUNT OF MONEY OR DESCRIPTION
DEVICE TRANSFER(S) AND VALUE OF PROPERTY OR DEBTOR’S
INTEREST IN PROPERTY

 

None

41. Closed financial accounts

List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were
closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include
checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts
held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are
separated and a joint petition is not filed.)

TYPE OF ACCOUNT, LAST FOUR AMOUNT AND
NAME AND ADDRESS DIGITS OF ACCOUNT NUMBER, DATE OF SALE
OF INSTITUTION AND AMOUNT OF FINAL BALANCE OR CLOSING
KI Ace oA SAMNGS, CHECIL ING £@ ol-of

 

12. Safe deposit boxes

List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables
within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless
the spouses are separated and a joint petition is not filed.)

NAME AND ADDRESS NAMES AND ADDRESSES DESCRIPTION DATE OF TRANSFER
OF BANK OR OF THOSE WITH ACCESS OF OR SURRENDER,
OTHER DEPOSITORY TO BOX OR DEPOSITORY CONTENTS IF ANY

 

13. Setoffs

 
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List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
concemung cither or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
petition is not filed.)

DATE OF AMOUNT
NAME AND ADDRESS OF CREDITOR SETOFF OF SETOFF

 

14, Property held for another person

List all property owned by another person that the debtor holds or controls,

NAME AND ADDRESS DESCRIPTION AND
OF OWNER VALUE OF PROPERTY LOCATION OF PROPERTY

 

15. Prior address of debtor

If debtor has moved within three years immediately preceding the commencement of this case, list all premises
which the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is
filed, report also any separate address of cither spouse.

ADDRESS NAME USED DATES OF OCCUPANCY

 

16. Spouses and Former Spouses

None

If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within elght
years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of

any former spouse who resides or resided with the debtor in the community property state,

NAME

 

 
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17. Environmental Information.
For the purpose of this question, the following definitions apply:

“Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes,
or material.

“Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or
formerly owned or operated by the debtor, including, but not limited to, disposal sites.

“Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous
material, pollutant, or contaminant or similar term under an Environmental Law.

 

a. List the name and address of every site for which the debtor has received notice in writing by a governmental
unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
governmental unit, the date of the notice, and, if known, the Environmental Law:

SITE NAME NAME AND ADDRESS DATE OF ENVIRONMENTAL
AND ADDRESS OF GOVERNMENTAL UNIT NOTICE LAW

 

#

b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release
of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

SITE NAME NAME AND ADDRESS DATEOF ENVIRONMENTAL
AND ADDRESS OF GOVERNMENTAL UNIT NOTICE LAW

 

 

¢. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
to the proceeding, and the docket number,

NAME AND ADDRESS DOCKET NUMBER STATUS OR
OF GOVERNMENTAL UNIT DISPOSITION

 

 

18. Nature, location and name of business

a. ifthe debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses,
and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
other activity cither full- or part-time within six years immediately preceding the commencement of this case, or in
which the debtor owned 5 percent or more of the voting or equity securities within six years immediately preceding
the commencement of this case.

If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
voting or equity securities, within six years immediately preceding the commencement of this case.

If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
voting or equity securities within six years immediately preceding the commencement of this case.

 
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8
LAST FOUR DIGITS
OF SOC. SEC. NO./ BEGINNING AND
NAME COMPLETE EINOR ADDRESS NATURE OF BUSINESS ENDING DATES
OTHER TAXPAYER
1D. NO.

 

b. Identify any business listed in response to subdivision a., above, that is “single asset real estate" as
x defined in 11 U.S.C. § 101.

NAME ADDRESS

 

The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
debtor who is or has been, within six years immediately preceding the commencement of this case, any of the following: an
officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
partner, other than a limited partner, of a partnership, a sole proprietor, or self-employed in a trade, profession, or other activity,
either full- or part-time.

(An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as
defined above, within six years immediately preceding the commencement of this case. A debtor who has not heen in business
within those six years should go directly to the signature page.)

 

19. Books, records and financial statements

N a. List all bookkeepers and accountants who within two years immediately preceding the filing of this
wT bankruptcy case kept or supervised the keeping of books of account and records of the debtor.

NAME AND ADDRESS DATES SERVICES RENDERED

 

Noi b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy
a case have audited the books of account and records, or prepared a financial statement of the debtor.

NAME ADDRESS DATES SERVICES RENDERED

 

c. List all firms or individuals who at the time of the commencement of this case were in possession of the ©
it books of account and records of the debtor. If any of the books of account and records are not available, explain.

NAME ADDRESS

 

 

 
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d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
financial statement was issued by the debtor within two years immediately preceding the commencement of this case.

NAME AND ADDRESS DATE ISSUED

 

20, Inventories

a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
taking of cach inventory, and the dollar amount and basis of cach inventory.

DOLLAR AMOUNT
OF INVENTORY
DATE OF INVENTORY INVENTORY SUPERVISOR (Specify cost, market or other basis)

 

Ad

b. List the name and address of the person having possession of the records of each of the inventories reported
in a., above.

NAME AND ADDRESSES
OF CUSTODIAN
DATE OF INVENTORY OF INVENTORY RECORDS

 

21. Current Partners, Officers, Directors and Shareholders

a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
partnership. .

NAME AND ADDRESS NATURE OF INTEREST PERCENTAGE OF INTEREST

 

b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the
corporation.

NATURE AND PERCENTAGE
NAME AND ADDRESS TITLE OF STOCK OWNERSHIP

 

22. Former partners, officers, directors and shareholders

a, If the debtor is a partnership, list cach member who withdrew from the partnership within one year immediately
preceding the commencement of this case.

NAME ADDRESS DATE OF WITHDRAWAL

 

 
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b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated
within one year immediately preceding the commencement of this case.

NAME AND ADDRESS TITLE DATE OF TERMINATION

 

23. Withdrawals from 2 partnership or distributions by a corporation

If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider,
including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
during one year immediately preceding the commencement of this case.

NAME & ADDRESS AMOUNT OF MONEY
OF RECIPIENT, DATE AND PURPOSE OR DESCRIPTION
RELATIONSHIP TO DEBTOR OF WITHDRAWAL, AND VALUE OF PROPERTY

 

24, Tax Consolidation Group.

If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any
consolidated group for tax purposes of which the debtor has been a member at any time within six years

immediately preceding the commencement of the case.

NAME OF PARENT CORPORATION TAXPAYER IDENTIFICATION NUMBER (EIN)

 

25, Pension Funds,

If the debtor is not an mdividual, list the name and federal taxpayer identification number of any pension fund to
which the debtor, as an employer, has been responsible for contributing at any time within six years immediately
preceding the commencement of the case.

NAME OF PENSION FUND TAXPAYER IDENTIFICATION NUMBER (EIN)

 

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11

{if completed by an individual or individual and spouse]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and

any attachments thereto and that they are true and correct.
pac ¥ 26-0¢ Signature AM Yay Byerly
a) /

 

 

 

 

 

of Debtor
Date Signature
of Joint Debtor
(if any)
[if completed on behalf of a partnership or corporation)
1, declare under penalty of perjury that I have read the 3 contained in the forcgoing stat of financial affairs and any attachments thereto and

that they are true and correct to the best of my knowledge, information and belief.

Date Signatare

 

 

 

Pnnt Name and Title

[An individual signing on behalf of a partnership or corporation must indicate position or telationship to debtor.}

___ continuation sheets attached

Penalty for making a false statement: Fine af up to $500,000 or imprisonment for up to 5 years, or bath. 18 USC. S§ I52 and 357]

 

DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

I declare under penalty of perjury that: (1) Tam a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) T prepared this document for
compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h), and
342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by bankrupicy
petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fec from the
debtox, as required by that section.

SAcH © PALOGUA CPA S&o- 70-0775

Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer Social Security No.(Required by 11 U.S.C. § I 10.)

If the bankruptcy petition Preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible

  

 

 

 

 

not an individual:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each Person.

A bankruptcy petition preparer's failure to comply with the provisions of tite uw and the Federal Rules of Bankraptcy Procedure may result in
fines or imprisonment or both. 18 U.S.C. § 156,

 
 

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Rev. 9/97
UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NORTH CAROLINA
Division
In re: Case No.

Debtor(s)

CERTIFICATION OF MAILING MATRIX
REQUIRED BY E.D.N.C. LBR 1007-2

I hereby certify under penalty of perjury that the attached list of creditors which has been
prepared in the format required by the clerk is true and accurate to the best of my knowledge and
includes all creditors scheduled in the petition.

med Halen Papen
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CERTIFICATION MAIL MATRIX

Alltel
1 Allied Drive, Little Rock AR 72203

AMC Mortgage Service 714-543-5262
505 South Main Street, CA 92868

Amex 800-874-2717
P.O.Box 297871 Fort Lauderdale FL 3329

BB&T
PO Box 2306 Wilson NC 27894

Central Carolina Bank 919-683-7777
PO Box 931 Durham NC 27702

Countywide 877-806-3254
450 American St. Simi Valley CA 93065

Cred Protections Assoc. 972-233-9614
1355 Noel Rd. Suite 2 Dallas TX 75240

Jeffery Jones/- c/o Anthony Griffin 910-843-9600
106 South Main St. Redspring , NC. 28377

SunTrust Bank Atlanta 404-588-7711
1 Park Place Atlanta GA 30302

Verizon South Inc. 877-325-5156
PO Box 165018 Columbus OH 43216

Wachovia/REC/FTU 336-747-8325
PO Box 3117 Winston Salem NC 27102

West Asset Management 866-302-0858
220 Sunset Blvd STE Sherman TX 75092

 
